Case 5:18-cr-00084-SMH-MLH Document 9 Filed 04/12/18 Page 1 of 3 PageID #: 46



                  UNITED STATES DISTRICT COURT

                 WESTERN DISTRICT OF LOUISIANA

                        SHREVEPORT DIVISION

UNITED STATES OF AMERICA               *     CRIMINAL NO.: 5:18-cr-00084
                                       *
                                       *     18 U.S.C. §§ 1349, 1343
                                       *     18 U.S.C. § 1956(h)
VERSUS                                 *     18 U.S.C. § 1957
                                       *     18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)
                                       *     18 U.S.C. § 982(a)(1)
                                       *
GREGORY ALAN SMITH (01)                *     CHIEF JUDGE HICKS
KIRBYJON H. CALDWELL (02)              *     MAGISTRATE JUDGE HORNSBY


                                      ORDER

        THIS MATTER having come before the Court on the motion of the United

States of America, by and through its undersigned counsel, and the Court having

found that entering a Protective Order regarding discovery materials is

appropriate, and for good cause shown,

        IT IS ORDERED that the motion is GRANTED, and the Court hereby finds
that:


        1.   The Government will produce discovery materials in this case that

contain, among other things, personally identifiable information; private financial

information of individuals, including the Defendants and victims; other private

information, including social security numbers, addresses, and birth dates; and

confidential tax returns and taxpayer return information within the meaning of

Title 26, United States Code, Section 6103(b). Disclosure of such tax return and
Case 5:18-cr-00084-SMH-MLH Document 9 Filed 04/12/18 Page 2 of 3 PageID #: 47



taxpayer return information is governed by Title 26 United States Code, Section

6103(a), which mandates that return and return information will be confidential

except as authorized by Section 6103. Section 6103(h)(4)(D) permits disclosure to

the defense of such tax return and taxpayer return information in accord with

Rule 16 of the Federal Rules of Criminal Procedure, but further disclosure of this

information, including tax returns and tax return information by Defendants or

their respective attorney is restricted by Section 6103.

      2.     The discovery materials also include information which is

governed by Rule 6(e) of the Federal Rules of Criminal Procedure.

      IT IS FURTHER ORDERED THAT:

      1.     The materials produced by the Government may be used by the

Defendants, Defendant’s counsel and any employees or agents of Defendant’s

counsel solely in the defense of this case.

      2.     Defendant’s counsel and Defendants will not disclose the private

information or tax return information contained in the discovery material directly

or indirectly to any person except those assisting the defense, persons who are

interviewed as potential witnesses, potential experts, or other authorized persons,

during the course of the investigation and defense of this case.

      3.     The discovery material produced by the Government will not be

copied or reproduced unless the material is copied or reproduced for authorized

persons to assist in the defense, and in the event copies are made, the copies

shall be protected in the same manner as the original material.
Case 5:18-cr-00084-SMH-MLH Document 9 Filed 04/12/18 Page 3 of 3 PageID #: 48



      4.      When providing the discovery materials to an authorized person,

the Defendant’s counsel must inform the authorized person that the materials

are provided subject to the terms of this Protective Order and that the

authorized person must comply with the terms of this Protective Order.

      5.      Defendant’s counsel will inform their respective Defendant of the

provisions of this Protective Order, and direct him not to disclose or use any

information contained in the Government’s discovery in violation of this

Protective Order.    However, nothing contained in the Protective Order will

preclude any party from applying to the Court for further relief or for

modification of any provision hereof.



           SHREVEPORT, LOUISIANA, this ___
                                       12 day of April, 2018.




                                 __________________________________
                                 MARK L. HORNSBY
                                 UNITED STATES MAGISTRATE JUDGE
